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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:07CR155
                     Plaintiff,                   )
                                                  )
      vs.                                         )             ORDER
                                                  )
PRISCILLA FIELDS,                                 )
                                                  )
                     Defendant.                   )


      This matter is before the Court on the motion of defendant Priscilla Fields (Fields)
to enlarge time (Filing No. 15). The motion does not comply with NECrimR 12.3 (a) and
paragraph 10 of the Progression Order (Filing No. 11) in that the motion is not
accompanied by the defendant’s affidavit or declaration stating that defendant:
      (1)    Has been advised by counsel of the reasons for seeking an extension;
      (2)    Understands that the time sought by the extension may be excluded from any
             calculation of time under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.; and
      (3)    With this understanding and knowledge, agrees to the filing of the motion.

      Accordingly, the motion (Filing No. 15) is :
             ( X ) Held in abeyance pending compliance with NECrimR 12.3(a) and
                     Paragraph 10 of the Progression Order. Absent compliance on or
                     before May 25, 2007, the motion will be deemed withdrawn and
                     termed on the docket.
             (   )   Denied.
      IT IS SO ORDERED.
      DATED this 18th day of May, 2007.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
